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  EXHIBIT “G”
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  From: GARY LIGHTMAN ltag8r@me.com
Subject: Re: Written agreement between Zakeria and Weiss
   Date: February 18, 2024 at 3:57 PM
     To: Phealey@rebarkelly.com, Sokolski.Zekaria@mindspring.com, Cathleen Kelly Rebar crebar@rebarkelly.com
    Cc: G. Manochi gmanochi@lightmanlaw.com, Laver, Seth L. slaver@goldbergsegalla.com, Gary Weiss wgary4109@gmail.com,
         monipair monipair@aol.com, Sam Gross charltonholdinggroupllc@aol.com, Scg1212@gmail.com, publicdiamonds@gmail.com,
         Sam Gross samrosinc@icloud.com, Bob + Tina Tate tina@tate-tate.com, Gary Lightman garylightman@lightmanlaw.com,
         K. DiTomaso kditomaso@lightmanlaw.com


       Patrick,

       You are hereby served with plaintiff’s Notice of Oral Depositions of
       Daphna Zekaria, Esquire and Sokolski & Zekaria, PC (With Request
       for Production of Documents), scheduling the in-person depositions of
       the Zekaria Defendants to commence on Friday, March 8, 2024, at
       10:00 a.m., in the President’s Board Room of the Country House at
       Bluestone Country Club, 711 Boehms Church Road, in Blue Bell, PA
       19422 (the same room where the 2/7/24 deposition of Manfred
       Sternberg was conducted).

       This email also will remind you to email us (by tomorrow) the written
       agreement between Zekaria and Weiss that Gary Weiss testified to at
       yesterday's deposition. Also, to the extent that your clients fail to
       provide us by no later than March 1, 2024, with full and complete
       answers to the Interrogatories and Document Requests propounded
       upon them on October 7, 2023, as well as all of the responsive
       documents, then it may be necessary for us to bring the Zekaria
       Defendants back for depositions a second time. Let’s try to avoid that
       — by your timely production of your clients’ Answers and documents
       in response to plaintiff’s discovery (by 3/1/24).

       Please contact us, should you have any questions or problems.

       thx
       Gary Lightman
       cell 215-760-3000

       attachment

       cc: all other defense counsel or parties
       Tate & Tate Court Reporters
       client
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 On Feb 17, 2024, at 3:07 PM, GARY LIGHTMAN <ltag8r@me.com>
 wrote:

 Patrick,

 Please email me (Monday) the written agreement between Zekaria
 and Weiss that Gary testified to at yesterday's deposition.

 Thanks.

 Gary Lightman, Esquire
 cell (215) 760-3000

—
Gary Lightman, Esquire
LIGHTMAN & MANOCHI
cell: 215-760-3000
email: garylightman@lightmanlaw.com and Ltag8r@me.com


LIGHTMAN & MANOCHI
600 West Germantown Pike, Suite 400
Plymouth Meeting, PA 19462
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New Jersey:
Phone: (856) 795-9669 (ext. 107); fax (856) 795-9339

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